IN THE UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF TENN.
FOR THE MIDDLE DISTRICT OF TENNESSEE AR 2 92017
NASHVILLE DIVISION M !
UNITED STATES OF AMERICA, ) wibie
) we. DEPUTY CLERK
Plaintiff, )
) NO. 3:17-00044
Vv. ) 18 U.S.C. § 2252A(g)
) 18 U.S.C. §§ 2251(d) and (e)
PATRICK DANE FALTE, ) 18 U.S.C. §§ 2252(a)(2) and (b)(1)
a.k.a. “a” ) 18 U.S.C. § 2253
)
BENJAMIN ALEXANDER FAULKNER, )
ke. ii )
)
ANDREW RYAN LESLIE, )
ak. i 8 86«(}
)
BRETT ALLEN BEDUSEK, )
aka. “i” )
)
Defendants )
INDICTMENT
COUNT ONE
THE GRAND JURY CHARGES:

FILED

U.S. DISTRICT COURT

 

1. Between on or about July 16, 2015, and on or about October 2, 2016, in the Middle

District of Tennessee and elsewhere, the defendants, PATRICK DANE FALTE, a.k.a.

“BENJAMIN ALEXANDER FAULKNER, a.k.a. “(,”, ANDREW

RYAN LESLIE, a.k.a. “(and BRETT ALLEN BEDUSEK, a.k.a. “

with others known and unknown to the Grand Jury, did knowingly engage in a child exploitation

enterprise, that is, PATRICK DANE FALTE, a.k.a. “RE,” BENJAMIN ALEXANDER

FAULKNER, a.k.a. “QE.” ANDREW RYAN LESLIE, a.k.a. ((”

and BRETT ALLEN BEDUSEK, a.k.a. “I violated Chapter 110 of Title 18 of the United

Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 1 of 13 PagelD #: 102

 
States Code, as a part of a series of felony violations constituting three or more separate incidents
and involving more than one minor victim, and committed those offenses in concert with three or
more other persons, as more fully described below:

THE ENTERPRISE

es !or purposes

of this indictment, the term “child pornography” is defined in Title 18, United States Code, Section

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Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 2 of 13 PagelD #: 103

 
6.

PREDICATE OFFENSES

On or about the below-listed dates, in the Middle District of Tennessee and

elsewhere, PATRICK DANE FALTE, aka. “QL” BENJAMIN ALEXANDER

FAULKNER, a.k.a. “EEE” ANDREW RYAN LESLIE, 2.k.2. (”

and BRETT ALLEN BEDUSEK, a.k.a. “I,” defendants herein, acting in concert with

each other and others known and unknown to the Grand Jury, engaged in a series of three or more

felony violations of:

A.

Title 18, United States Code, Section 2251(d)(1)(A), that is, each defendant did
knowingly make, print, and publish, and cause to be made, printed, and published,
any notice and advertisement seeking and offering to receive, exchange, buy,
produce, display, distribute, and reproduce, any visual depiction, the production of
which visual depiction involved the use of a minor engaging in sexually explicit
conduct and such visual depiction was of such conduct, and such notice and
advertisement was transported using any means and facility of interstate and foreign
commerce and in and affecting interstate and foreign commerce by any means,
including by computer, and

Title 18, United States Code, Section 2252(a)(2), that is, each defendant did
knowingly distribute any visual depiction using any means and facility of interstate
and foreign commerce, where the production of such visual depiction involved the
use of a minor engaging in sexually explicit conduct, as defined in Title 18, United

States Code, Section 2256(2)(A), and the visual depiction was of such conduct,

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Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 3 of 13 PagelD #: 104

 
es, on three or more

separate incidents and involving more than one victim, including, but not limited, to the following

postings on the specified dates (redacted posting titles are known to the Grand Jury but have been

redacted to protect victim privacy):

   
 

 

FAULKNER, a. Kk. a.

6s

Defendant Dates | Dates (Posting Title) ‘Disbatinsdile = =
PATRICK DANE FALTE, a.k.a. | July 17,2015 ©
ii August 9, 2015 (“
March 31, 2016
BENJAMIN ALEXANDER September 14, 2015 __

 
  

September 30, 2015 __
March 27, 2016 (“

 

$6 99

ANDREW RYAN LESLIE, a.k.a.

August 5, 2015 (“
August 12, 2015 (“
August 12, 2015

 

BRETT ALLEN BEDUSEK,
aka. “i

 

November 30, 2015 (“
December 3, 2015 (“ P?)
January 23, 2016 (“ ny

 

 

All in violation of Title 18, United States Code, Section 2252A(g).

Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 4 of 13 PagelD #: 105

 

 
COUNT TWO

THE GRAND JURY FURTHER CHARGES:

Between on or about July 16, 2015, and on or about October 2, 2016, in the Middle District
of Tennessee and elsewhere, the defendants, PATRICK DANE FALTE, a.k.a. ‘ii.
BENJAMIN ALEXANDER FAULKNER, a.k.a. “QS” ANDREW RYAN
LESLIE, a.k.a. “QM” and BRETT ALLEN BEDUSEK, a.k.a. “EP did
knowingly conspire to make, print, and publish, and cause to be made, printed, and published, any
notice and advertisement seeking and offering to receive, exchange, buy, produce, display,
distribute, and reproduce, any visual depiction, the production of which visual depiction involved
the use of a minor engaging in sexually explicit conduct, as defined in Title 18, United States Code,
Section 2256(2)(A), and that visual depiction was of such conduct; and that notice and
advertisement was transported using any means and facility of interstate and foreign commerce
and in and affecting interstate and foreign commerce by any means, including by computer.

All in violation of Title 18, United States Code, Sections 2251(d)(1)(A), (d)(2)(B), and (e).

Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 5 of 13 PagelD #: 106

 
COUNT THREE

THE GRAND JURY FURTHER CHARGES:

Between on or about July 16, 2015, and on or about October 2, 2016, in the Middle District
of Tennessee and elsewhere, the defendants, PATRICK DANE FALTE, a.k.a. ‘i’:
BENJAMIN ALEXANDER FAULKNER, aka. “QP; ANDREW RYAN
LESLIE, a.k.a. “and BRETT ALLEN BEDUSEK, a.k.a. “(BP id
knowingly conspire to distribute any visual depiction using any means and facility of interstate
and foreign commerce, in which the production of such visual depiction involved the use of a
minor engaging in sexually explicit conduct, as defined in Title 18, United States Code, Section
2256(2)(A), and that visual depiction was of such conduct.

All in violation of Title 18, United States Code, Sections 2252(a)(2) and (b)(1).

COUNT FOUR

THE GRAND JURY FURTHER CHARGES:

On or about July 17, 2015, in the Middle District of Tennessee and elsewhere, defendant,
PATRICK DANE FALTE, a.k.a. ‘hi.’ did knowingly make, print, and publish, and
cause to be made, printed, and published, any notice and advertisement seeking and offering to
receive, exchange, buy, produce, display, distribute, and reproduce, any visual depiction, the
production of which visual depiction involved the use of a minor engaging in sexually explicit
conduct, as defined in Title 18, United States Code, Section 2256(2)(A), and that visual depiction
was of such conduct; and that notice and advertisement was transported using any means and
facility of interstate and foreign commerce and in and affecting interstate and foreign commerce
by any means, including by computer.

In violation of Title 18, United States Code, Sections 2251(d)(1)(A), (d)(2)(B), and (e).

Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 6 of 13 PagelD #: 107

 
COUNT FIVE

THE GRAND JURY FURTHER CHARGES:

On or about August 9, 2015, in the Middle District of Tennessee and elsewhere, defendant,
PATRICK DANE FALTE, a.k.a. ‘him. did knowingly make, print, and publish, and
cause to be made, printed, and published, any notice and advertisement seeking and offering to
receive, exchange, buy, produce, display, distribute, and reproduce, any visual depiction, the
production of which visual depiction involved the use of a minor engaging in sexually explicit
conduct, as defined in Title 18, United States Code, Section 2256(2)(A), and that visual depiction
was of such conduct; and that notice and advertisement was transported using any means and
facility of interstate and foreign commerce and in and affecting interstate and foreign commerce
by any means, including by computer.

In violation of Title 18, United States Code, Sections 2251(d)(1)(A), (d)(2)(B), and (e).

COUNT SIX

THE GRAND JURY FURTHER CHARGES:

On or about March 31, 2016, in the Middle District of Tennessee and elsewhere, defendant,
PATRICK DANE FALTE, a.k.a. ‘hi. did knowingly make, print, and publish, and
cause to be made, printed, and published, any notice and advertisement seeking and offering to
receive, exchange, buy, produce, display, distribute, and reproduce, any visual depiction, the
production of which visual depiction involved the use of a minor engaging in sexually explicit
’ conduct, as defined in Title 18, United States Code, Section 2256(2)(A), and that visual depiction
was of such conduct; and that notice and advertisement was transported using any means and
facility of interstate and foreign commerce and in and affecting interstate and foreign commerce
by any means, including by computer.

In violation of Title 18, United States Code, Sections 2251(d)(1)(A), (d)(2)(B), and (e).

7

Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 7 of 13 PagelD #: 108

 
COUNT SEVEN

THE GRAND JURY FURTHER CHARGES:

On or about July 17, 2015, in the Middle District of Tennessee and elsewhere, defendant,
PATRICK DANE FALTE, a.k.a. “QQ,” did knowingly distribute any visual depiction
using any means and facility of interstate and foreign commerce in which the production of such
visual depiction involved the use of a minor engaging in sexually explicit conduct, as defined in
Title 18, United States Code, Section 2256(2)(A), and that visual depiction was of such conduct.

All in violation of Title 18, United States Code, Sections 2252(a)(2) and (b)(1).

COUNT EIGHT

THE GRAND JURY FURTHER CHARGES:

On or about August 9, 2015, in the Middle District of Tennessee and elsewhere, defendant,
PATRICK DANE FALTE, a.k.a. “QE”, did knowingly distribute any visual depiction
using any means and facility of interstate and foreign commerce in which the production of such
visual depiction involved the use of a minor engaging in sexually explicit conduct, as defined in
Title 18, United States Code, Section 2256(2)(A), and that visual depiction was of such conduct.

All in violation of Title 18, United States Code, Sections 2252(a)(2) and (b)(1).

Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 8 of 13 PagelD #: 109.

 
COUNT NINE

THE GRAND JURY FURTHER CHARGES:

On or about March 31, 2016, in the Middle District of Tennessee and elsewhere, defendant,
PATRICK DANE FALTE, a.k.a. “QR,” did knowingly distribute any visual depiction
using any means and facility of interstate and foreign commerce in which the production of such
visual depiction involved the use of a minor engaging in sexually explicit conduct, as defined in
Title 18, United States Code, Section 2256(2)(A), and that visual depiction was of such conduct.

All in violation of Title 18, United States Code, Sections 2252(a)(2) and (b)(1).

FORFEITURE ALLEGATIONS
THE GRAND JURY FURTHER CHARGES:
1. The allegations contained this Indictment are re-alleged and incorporated by
reference as if fully set forth in support of this forfeiture.
2. Upon conviction of one or more of the offenses alleged in Counts ONE, TWO or
THREE of this Indictment, PATRICK DANE FALTE, a.k.a. “QE; BENJAMIN
ALEXANDER FAULKNER, a.k.a. “QQ; ANDREW RYAN LESLIE, aka.
‘hi and BRETT ALLEN BEDUSEK, a.k.a. “IP shall forfeit to the
United States, pursuant to 18 U.S.C. § 2253(a):
A. any visual depiction described in 18 U.S.C. §§ 2251 or 2252A, of this
chapter or any book, magazine, periodical, film, videotape, or other matter
which contains any such visual depiction, which was produced, transported,

mailed, shipped or received in violation of this chapter;

B. any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from such offense(s); and

C. any property, real or personal, used or intended to be used to commit or to
promote the commission of such offense(s) or any property traceable to such

property,

Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 9 of 13 PagelD #: 110

 
including but not limited to:
(1) the following items seized from the possession of PATRICK DANE FALTE, a.k.a.
“HR” 00 or about October 2, 2016:
a. The contents and virtual currency contained within the bitcoin wallet associated

with PATRICK DANE FALTE further identified as:

i. CoinBase.com Account: [=a
ii. Email associated with account: Po

b. A Dell Inspiron Desktop SN BQ85XV1 containing a Seagate Barracuda hard drive
SN SIDS56Y7L
c. A Western digital my passport ultra external hard drive SN WXWIE85FY8AK
d. A Sony Vaio laptop SN 275257323018868 containing a Seagate Momentus hard
drive SN 6WS2NMCX
e. A Toshiba Satellite laptop SN 48159257Q containing a Toshiba SATA hard drive
SN 38IF2FFS
f. The contents and United States currency contained within the USAA Savings
Checking account:
i. Account Number: *****9657
ii. Routing Number: 314074269
(2) the following items seized from the possession of BENJAMIN ALEXANDER
FAULKNER, a.k.a. ‘i. on or about October 2, 2016:
a. HD1 with SN 210987654321 from HP latptop
b. 16GB SD card with SN 310900000985

c. Blue 16GB USB with SN DEDD801CA90

10

Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 10 of 13 PagelD #: 111

 
Green 16GB USB with SN 0DEODD801CA90

Kingston 8GB USB with SN 0019E02CB6F35B8A05060A5C

Kingston 8GB USB with SN 5B870400011A

32GB Lexar SD card

8GB pink thumb drive with SN 7094D33E

HP Laptop and 2 hard drives contained within

The contents and virtual currency contained within the bitcoin wallet associated

with BENJAMIN ALEXANDER FAULKNER further identified as:

i. Account: aaa
i, Online wallet:
iii. Email associated with account: Po and/or

(3) the following items seized from the possession of ANDREW RYAN LESLIE, a.k.a.

‘i. on or about October 17, 2016:

a.

An external hard drive, SN WX11A5369636

(4) and the following items seized from the possession of BRETT ALLEN BEDUSEK, a.k.a.

‘7, on or about March 9, 2017:

a.

b.

DVDs and thumb drives

Seagate 1 TB External Hard Drive, s/n WES3VHGH
Apple iPhone A1660, s/n FAHSPS5PCHE71

Dell Laptop, s/n 5ZO0G0C2

HP Desktop Computer, s/n 4C151417TG

Digiland Tablet

Cricket Blackberry Phone ZTE, s/n 9B042011895

11

Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 11 of 13 PagelD #: 112

 
h. Black 32 GB SanDisk Micro SD with Adapter, s/n 5352DRCGROGC

i. Black 32 GB SanDisk Micro SD, s/n 6362DKEA614P

j. SanDisk 32 GB Micro SD, s/n 5402CKA193QK

k. SanDisk 32 GB Micro SD, s/n 6363DKEK51KV

1. SanDisk 16 GB Micro SD with Adapter, s/n 5186DR49TODX

3. If any of the above-described forfeitable property, as a result of any act or omission of the
defendant,

A. Cannot be located upon the exercise of due diligence;

B. Has been transferred or sold to, or deposited with, a third person;

Cc Has been placed beyond the jurisdiction of the Court;

D. Has been substantially diminished in value; or

E Has been commingled with other property which cannot be subdivided

without difficulty,

the United States shall be entitled to forfeiture of substitute property, and it is the intent of the

United States, pursuant to Title 21, United States Code, Section 853(p) as incorporated in Title 28,

United States Code, Section 2461 (c)), to seek forfeiture of any other property of said defendant up

to the value of the above forfeitable property, including a money judgment in an amount to be

determined, which represents the proceeds of the crime.

12

Case 3:17-cr-00044 Document 7 Filed 03/29/17 Page 12 of 13 PagelD #: 113

 
All pursuant to Title 21, United States Code, Section 853 and Rule 32.2(a), Federal Rules
of Criminal Procedure.

A TRUE BILL

 

FOREPERSON

 

JACK SMITH
ACTING UNITED STATES ATTORNEY

 

S. CARRAN DAUGHTREY
ASSISTANT UNITED STATES ATTORNEY

 

BYRON M. JONES
ASSISTANT UNITED STATES ATTORNEY

13

Case 3:17-cr-00044 Document7 Filed 03/29/17 Page 13 of 13 PagelD #: 114

 
